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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Stephen Phillips and Mary Tourville-Phillips,
on behalf of themselves and all others similarly          Case No.: 19-cv-2711-WMW-LIB
situated,

              Plaintiffs,
                                                                       ORDER
v.

Caliber Home Loans,

               Defendant.


       On December 11, 2020, the parties filed an Unopposed Joint Motion to Vacate the

Scheduling Order and Stay Proceedings Pending Mediation [Docket No. 62]. Based upon review

of the files and for good cause shown, IT IS HEREBY ORDERED that:

       1. The Parties’ Unopposed Joint Motion to Vacate the Scheduling Order and Stay

           Proceedings Pending Mediation [Docket No. 62] is GRANTED;

       2. The above entitled action is hereby STAYED until Monday, February 8, 2021. All

           deadlines are VACATED; and

       3. The parties shall file a Joint Status Report on CM/ECF, by no later than February 8,
           2021, addressing the status of the mediation, and whether a scheduling conference

           should be set in anticipation of continued litigation.



DATED: December 14, 2020                              s/Leo I. Brisbois
                                                      Hon. Leo I. Brisbois
                                                      U.S. MAGISTRATE JUDGE
